                         THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                           CIVIL ACTION NO.: 5:20-cv-354-BO


HENRY HALLAGER,                                     )
                                                    )
                       Plaintiff                    )
                                                    )       REPORT OF THE PARTIES’
               v.                                   )         PLANNING MEETING
                                                    )           Fed. R. Civ. P. 26(f)
ACCOUNT RESOLUTION SERVICES,                        )
LLC; EXPERIAN INFORMATION                           )
SOLUTIONS, INC.,                                    )
                 Defendants                         )

                    REPORT OF THE PARTIES’ PLANNING MEETING

1.   Pursuant to Fed. R. Civ. P. 26(f) and LR26.1(e)(2), a telephone meeting was held on

     December 11, 2020 and was attended by Chad Diamond representing the plaintiff, Henry

     Hallager (“Plaintiff”), David Grassi representing the defendant Account Resolution

     Services, LLC(“ARS”), and Caren Enloe representing the defendant Experian

     Information Solutions, Inc. (“Experian”).

2.   Initial Disclosures pursuant to Rule 26(a)(1) will be submitted by the parties on or

     before January 8, 2021.

3.   Discovery Plan. The parties propose to the Court the following discovery plan:


     (a)      Discovery will be needed on these subjects: Any and all information relevant to

              any of Plaintiff’s claims and damages, and Defendants’ defenses.

     (b)      The date for the completion of all discovery (fact and expert) is July 16,

              2021.

     (c)      Maximum number of interrogatories by each party to another party shall be




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              twenty-five (25) in accordance with local rules and federal rules.

     (d)      Maximum number of requests for admissions by each party to another party shall

              be forty (40).

     (e)      Maximum number of depositions by each party shall be five (5).

     (f)      Depositions shall be limited to seven (7) hours in length consistent with Fed. R.

              Civ. P. 30(d)(1).

     (g)      Reports from retained experts under Rule 26(a)(2) are due during the discovery

              period:

                        From Plaintiff by May 15, 2021.

                        From Defendants June 15, 2021.

     (h)      The parties do not believe that this case is suitable for electronic discovery but are

              amenable to producing discoverable electronically stored information in hard copy

              or in .pdf format as an initial matter. Once the parties have had the opportunity to

              review such documents, the parties agree, if necessary, to confer amongst

              themselves regarding any additional exchange or production that the parties believe

              is necessary.

     (i)      The parties anticipate that there will be a need for a protective order in this matter.


4.   Other Items:

     (a)      The parties do not anticipate a need to meet with the court before a scheduling

              order is entered.

     (b)      The parties defer to the Court’s availability and scheduling preferences regarding

              any non-final or final Rule 16 pretrial conferences.

     (c)      Plaintiff should be allowed until February 1, 2021 to request leave to join




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         additional parties or amend pleadings.

(d)      Defendants should be allowed until February 15, 2021 to request leave to join

         additional parties or amend pleadings.

(e)      Dispositive motions shall be filed on or before August 16, 2021.

(f)      The parties believe there is a possibility for settlement. Plaintiff has not yet made

         an initial demand to Defendants but anticipates doing so within 14 days.

(g)      The parties believe that mediation may enhance settlement prospects. Mediation

         should be conducted prior to the close of the discovery period, with the exact date

         to be set by the mediator after consultation with the parties. The parties agree that

         the mediator shall be Rene S Trehy.

(h)      Final dates for submitting Rule 26(a)(3) witness lists, designations of witnesses

         whose testimony will be presented by deposition, and exhibit lists shall be in

         accordance with the local rules.

(i)      Final dates to file objections under Rule 26(a)(3) shall be in accordance with the

         local rules.

(j)      Suggested trial date November 1, 2021: Trial of this action is expected to take

         approximately 1-4 days. A jury trial has been demanded.

(k)      ARS filed a Motion to Dismiss on November 24, 2020 (ECF No. 14). Plaintiff

         filed a Memorandum in Opposition to ARS’ Motion to Dismiss on December 16,

         2020 (ECF No. 18). The Court has not yet ruled on the Motion to Dismiss.




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Date: December 21, 2020
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                                   Attorney for Plaintiff


Date: December 21, 2020            /s/ Caren D. Enloe________________________
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Date: December 21, 2020
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